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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                   11/06/2020
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L.V., on behalf of herself and her minor child,
J.V.2,

                                                   Plaintiffs,
-against-                                                                    ORDER SCHEDULING
                                                                             EX PARTE CONFERENCE

NEW YORK CITY DEPARTMENT OF EDUCATION,                                     19-CV-05451 (AT) (KHP)


                                                  Defendant.
-----------------------------------------------------------------X
KATHARINE H. PARKER, United States Magistrate Judge:

         An ex parte Conference regarding Plaintiff counsel’s motion to withdraw as counsel (ECF

No. 109) in this matter is hereby scheduled for Friday, November 13, 2020, at 2:00 p.m.

Plaintiff L.V. and her counsel, Ms. Oroma Mpi-Reynolds, must both appear. Ms. Mpi-Reynolds

is directed to call Judge Parker’s Chambers at the scheduled time by dialing (212) 805-0234 with

her client, L.V., on the line.

         SO ORDERED.

DATED: New York, New York
       November 6, 2020

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge




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